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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov


IN RE:

LIDEYSA CALLEJAS
a/k/a Lideysa Maria Callejas Rodriguez
d/b/a Lideysa Callejas Adult Family Care Home
                                                                       CASE NO.: 6:18-bk-00343-KSJ
                                                                       Chapter 13
      Debtor(s).
____________________________________________

                               SECOND AMENDED CHAPTER 13 PLAN

A.         NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

     A limit on the amount of a secured claim based on a valuation which Included                        Not Included
     may result in a partial payment or no payment at all to the secured
     creditor. See Sections C.5(d) and (e). A separate motion will be filed. X

     Avoidance of a judicial lien or nonpossessory, nonpurchase money Included                           Not Included
     security interest under 11 U.S.C. § 522(f). A separate motion will be                                     X
     filed. See Section C.5(e).
     Nonstandard provisions, set out in Section E.                         Included                      Not Included

                                                                                              X


B.         MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and
           shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
           the Trustee for the period of 60 months. If the Trustee does not retain the full 10%, any
           portion not retained will be disbursed to allowed claims receiving payments under the Plan
           and may cause an increased distribution to the unsecured class of creditors.

           $6,528.28 for month 1                               $5,202.10 from month 2 through 3
           $5,387.21 from month 4 through 6                    $5,442.77 for month 7 through 42
           $5,387.21 from month 43 through 53                  $5,331.66 for month 54 through 59


1
    All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.

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        $5,331.82 for month 60

C.      PROPOSED DISTRIBUTIONS.

        1.     ADMINISTRATIVE ATTORNEY’S FEES.


        Base Fee $4,515.00 Total Paid Prepetition $2,415.00 Balance Due $2,100.00

        MMM Fee $2500.00 Total Paid Prepetition $0.00               Balance Due $2500.00

        Estimated Monitoring Fee at $ 50.00 per Month.

        Attorney’s Fees Payable Through Plan at: $50.00 (Months 1-42)

        2.     DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Acct. No.                       Creditor                         Total Claim Amount
 None

        3.     PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).


 Last Four Digits of Acct. No.   Creditor                         Total Claim Amount


 N/A                             IRS (2016 Income Tax & $ 28,288.77 (includes 4%
                                 Estimated Penalties)   interest)
 N/A                             IRS (2017 Income Tax & $ 54,528.69 (includes 4%
                                 Estimated Penalties)   interest)

       4.       TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

       5.      SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments. The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to secured creditors under the Plan
shall be deemed contractually paid on time.

        (a)    Claims Secured by Debtor’s Principal Residence Which Debtor Intends to
        Retain - Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid
        Through the Plan. If the Plan provides for curing prepetition arrearages on a mortgage on

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       Debtor’s principal residence, Debtor will pay, in addition to all other sums due under the
       proposed Plan, all regular monthly postpetition mortgage payments to the Trustee as part
       of the Plan. These mortgage payments, which may be adjusted up or down as provided for
       under the loan documents, are due beginning the first due date after the case is filed and
       continuing each month thereafter. The Trustee shall pay the postpetition mortgage
       payments for Debtor’s principal residence on the following mortgage claims:

Last Four        Creditor          Collateral      Regular        Gap             Arrears
Digits of                          Address         Monthly        Payment
Acct. No.                                          Payment
6828             Wilmington        10950        $2,035.23    N/A                  $744.47
                 Savings Fund      Guilford     (Months 1-3)                      (Months 1-3)
                 Society, FSB,     Road,
                 d/b/a             Clermont, FL $2,052.85                         $711.67
                 Christiana        34715        (Months 4-                        (Months     4-
                 Trust, not in                  60)                               60)
                 its individual
                 capacity but
                 solely       as
                 trustee     for
                 brougham
                 fund I trust

       (b)     Claims Secured by Other Real Property Which Debtor Intends to Retain -
       Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
       Through the Plan. If the Plan provides to cure prepetition arrearages on a mortgage, Debtor
       will pay, in addition to all other sums due under the proposed Plan, all regular monthly
       postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
       payments, which may be adjusted up or down as provided for under the loan documents,
       are due beginning the first due date after the case is filed and continuing each month
       thereafter. The Trustee shall pay the postpetition mortgage payments on the following
       mortgage claims:

Last Four        Creditor          Collateral      Regular        Gap             Arrears
Digits of                          Address         Monthly        Payment
Acct. No.                                          Payment
None

       (c)     Claims Secured by Real Property - Debtor Intends to Seek Mortgage
       Modification. If Debtor obtains a modification of the mortgage, the modified payments
       shall be paid through the Plan. Pending the resolution of a mortgage modification request,
       Debtor shall make the following adequate protection payments to the Trustee: (1) for
       homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
       spouse, if any (after deducting homeowners association fees), or the normal monthly
       contractual mortgage payment; or (2) for non-homestead, income-producing property, 75%
       of the gross rental income generated from the property.

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         Last Four Digits       Creditor                      Collateral Address     Adequate
         of Acct. No.                                                                Protection Payment
         None


                (d)    Claims Secured by Real Property or Personal Property to Which Section 506
                Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does
                not apply to a claim secured solely by Debtor’s principal residence. A separate motion to
                determine secured status or to value the collateral must be filed. The secured portion
                of the claim, estimated below, shall be paid. Unless otherwise stated in Section E, the
                payment through the Plan does not include payments for escrowed property taxes or
                insurance.

Last       Creditor        Collateral        Claim            Value        Payment        Interest      Arrears
Four                       Description/      Amount                        Through        Rate
Digits                     Address                                         Plan
of
Acct.
No.
1306       Santander       2014 Sprinter     $34,644.55       $28,475.00   $410.70        6.5%          $116.23
           Consumer        2500      Van     (Creditor                     (includes                    (1-60)
           USA             40000 miles       claimed                       6.5%
                           [With             $28,475.00                    interest
                           Wheelchair        secured;                      rate) (1-60)
                           Lift       for    $6,169.55
                           Transporting      unsecured;
                           Patients    as    Debtor
                           part        of    agrees)
                           business]

                (e)    Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.
                § 506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
                nonpossessory, nonpurchase money security interest because it impairs an exemption or
                under § 506 to determine secured status and to strip a lien.

         Last Four Digits of Acct.          Creditor                         Collateral Description /
         No.                                                                 Address
         None


                (f)   Claims Secured by Real Property and/or Personal Property to Which Section
                506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a).

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        The claims listed below were either: (1) incurred within 910 days before the petition date
        and secured by a purchase money security interest in a motor vehicle acquired for the
        personal use of Debtor; or (2) incurred within one year of the petition date and secured by
        a purchase money security interest in any other thing of value. These claims will be paid
        in full under the Plan with interest at the rate stated below.

 Last Four         Creditor        Collateral       Claim            Payment           Interest
 Digits of                         Description/     Amount           Through           Rate
 Acct. No.                         Address                           Plan
 None

 *Surrendered
 after Month 1

        (g)    Claims Secured by Real or Personal Property to be Paid with Interest Through
        the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full
        under the Plan with interest at the rate stated below.

 Last Four         Creditor        Collateral       Claim            Payment           Interest
 Digits of                         Description/     Amount           Through           Rate
 Acct. No.                         Address                           Plan
 None

 *Surrendered
 after Month 1

        (h)   Claims Secured by Personal Property – Maintaining Regular Payments and
        Curing Arrearage, if any, with All Payments in Plan.

 Last Four           Creditor             Collateral          Regular             Arrearage
 Digits of Acct.                          Description         Contractual
 No.                                                          Payment
 None

         (i)     Secured Claims Paid Directly by Debtor. The following secured claims are being
made via automatic debit/draft from Debtor’s depository account and are to continue to be paid
directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic
stay is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate or
abrogate Debtor’s state law contract rights.



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Last Four Digits of Acct.        Creditor                         Property/Collateral
No.
None

       (j)     Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
       following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a)
       is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
       creditors upon the filing of this Plan.

Last Four Digits of Acct.        Creditor                         Collateral/Property
No.                                                               Description/Address
None

       (k)    Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to
       make payments to the following secured creditors. The automatic stay is terminated in rem
       as to Debtor and in rem and in personam as to any codebtor with respect to these creditors
       upon the filing of this Plan. Debtor’s state law contract rights and defenses are neither
       terminated nor abrogated.

Last Four Digits of Acct.        Creditor                         Collateral
No.                                                               Description/Address
N/A                              Harold and Donna Avery           142 Reef Road, South
                                                                  Daytona Beach, FL 32119
                                                                  Volusia County
N/A                              Eric & Yvette Rodriguez          Guilford Road Clermont, FL
                                                                  34715 Lake County
                                                                  Parcel Number: 24-21-25-
                                                                  000200001900
                                                                  Alternate Key: 1704332
##9617                           Lake County Auto Mall            2010 Lincoln MKS 160000
                                                                  miles

       6.      LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the
Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending. If Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.


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        (a)     Assumption of Leases/Executory Contracts for Real or Personal Property to
        be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
        leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
        follows.

 Last Four           Creditor/Lessor      Description of      Regular             Arrearage and
 Digits of Acct.                          Leased              Contractual         Proposed Cure
 No.                                      Property            Payment
 None

        (b)     Assumption of Leases/Executory Contracts for Real or Personal Property to
        be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
        claims that are paid via automatic debit/draft from Debtor’s depository account and are to
        continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
        automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and
        in personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.
        Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights.

 Last Four Digits of Acct.         Creditor/Lessor                   Property/Collateral
 No.
 None

        (c)     Rejection of Leases/Executory Contracts and Surrender of Real or Personal
        Leased Property. Debtor rejects the following leases/executory contracts and will
        surrender the following leased real or personal property. The automatic stay is terminated
        in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors and
        lessors upon the filing of this Plan.

 Last Four Digits of Acct.         Creditor/Lessor                   Property/Collateral to be
 No.                                                                 Surrendered
 None


        7.     GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after payments
to the above referenced creditors or shall otherwise be paid under a subsequent Order Confirming
Plan. The estimated dividend to unsecured creditors shall be no less than approx. $4,000.00, the
value of Debtor’s non-exempt assets in a liquidation analysis.

D.      GENERAL PLAN PROVISIONS:

        1.     Secured creditors, whether or not dealt with under the Plan, shall retain the liens

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            securing such claims.

     2.     Payments made to any creditor shall be based upon the amount set forth in the
            creditor’s proof of claim or other amount as allowed by an Order of the Bankruptcy
            Court.

     3.     If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
            property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge
            or dismissal of this case, unless the Court orders otherwise. Property of the estate

            (a)    X        shall not vest in Debtor until the earlier of Debtor’s discharge or
            dismissal of this case, unless the Court orders otherwise, or

            (b) _______ shall vest in Debtor upon confirmation of the Plan.

     4.     The amounts listed for claims in this Plan are based upon Debtor’s best estimate
            and belief and/or the proofs of claim as filed and allowed. Unless otherwise ordered
            by the Court, the Trustee shall only pay creditors with filed and allowed proofs of
            claim. An allowed proof of claim will control, unless the Court orders otherwise.

     5.     Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
            distributions. The actual distributions may vary. If the summary or spreadsheet
            conflicts with this Plan, the provisions of the Plan control prior to confirmation,
            after which time the Order Confirming Plan shall control.

     6.     Debtor shall timely file all tax returns and make all tax payments and deposits when
            due. (However, if Debtor is not required to file tax returns, Debtor shall provide the
            Trustee with a statement to that effect.) For each tax return that becomes due after
            the case is filed, Debtor shall provide a complete copy of the tax return, including
            business returns if Debtor owns a business, together with all related W-2s and Form
            1099s, to the Trustee within 14 days of filing the return. Unless otherwise ordered,
            consented to by the Trustee, or ordered by the Court, Debtor shall turn over to the
            Trustee all tax refunds in addition to regular Plan payments. Debtor shall not
            instruct the Internal Revenue Service or other taxing agency to apply a refund to
            the following year’s tax liability. Debtor shall not spend any tax refund without
            first having obtained the Trustee’s consent or Court approval.

E.   NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
     Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set
     out in this section are deemed void and are stricken.

     -Payment of Arrearage in Section 5(d)
     -Notes and additional information in Section 3, 5(d), 5(f) and 5(g)




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                                    CERTIFICATION

       By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

SIGNATURE(S):


Attorney for Debtor(s)


/s Matthew C. Frey                                Date May 13, 2018

I HEREBY CERTIFY that a true and correct copy of the foregoing Chapter 13 Plan has
been furnished within the United States by regular, postage pre-paid mail or electronic
transmission this 14th day of May, 2018 to all interested parties on the attached mailing
matrix.
                                 Campione & Hackney, P.A.
                                 Attorneys for Debtor

                                   /s/ Matthew C. Frey
                                   Matthew C. Frey, Esq.
                                   Florida Bar No. 106359
                                   2750 Dora Avenue
                                   Tavares, Florida 32778
                                   Telephone: 352-343-4561
                                   Telefacsimile: 352-343-7456
                                   Primary Email: mfrey@campionehackney.com


Eric and Yvette Rodriguez          Lake County Auto Mall       Harold and Donna Avery
5050 FM 423 APT 7106               18811 Highway 27            6606 S. Wildermuth Point
Frisco, TX 75034                   Clermont, FL 34715          Homosassa, FL 34446

James Duke                         United States of America    Wilmington Savings Fund Society
3224 Medici Blvd.                  Internal Revenue Service    c/o BSI Financial Services
New Smyrna Beach, 32168            Post Office Box 21126       314 S. Franklin Street
                                   Philadelphia, PA 19114      2nd Floor
                                                               Titusville, PA 16354


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Ally Financial                       Capital One                   Fairwinds Credit Union
Attn: Bankruptcy                     Attn: Bankruptcy              3075 N. Alafaya Trail
PO Box 380901                        PO Box 30285                  Orlando, FL 32826
Bloomington, MN 55438                Salt Lake City, UT 84130

First Premier Bank                   First Premier Bank            Fox Collection Center
PO Box 5524                          601 S. Minnesota Ave          PO Box 528
Sioux Falls, SD 57117                Sioux Falls, SD 57104         Goodlettsville, TN 37070

Mid America Bk/total C               Peoples First Commerce Bank Regional Acceptance Co
5109 S Broadband Ln                  111 S Monroe Street         Attn: Bankruptcy
Sioux Falls, SD 57108                Tallahassee, FL 32301       1424 E Firetower Road
                                                                 Greenville, NC 27858

Santander Consumer USA               Shafritz & Associates
PO Box 961245                        601 N Congress Ave
Ft. Worth, TX 76161                  Suite 4
                                     Delray Beach, FL 33445

By Electronic Service to:

Courtney Kilbourne                   Laurie K Weatherford
Attorney For Creditors, Averys       ecfdailysummary@c13orl.com
courtney@coastline.legal

United States Trustee - ORL7/13, 7   Michael Nardella
USTP.Region21.OR.ECF@usdoj.gov       mnardella@nardellalaw.com
                                     afebres@nardellalaw.com
Ezra Scrivanich, Esq.                Attorney for Eric & Yvette Rodriguez
Email: ezra@shlegalgroup.com
Attorney for Wilmington…




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Due Date                                                   18-00343                                                   Debtor: CALLEJAS, LIDEYSA

22nd**

    Date       60                 Unsecured                    Debtor Payment             Trustee Fee (10%)           Attorney Fee       MMM- Attorney Fee        Monitoring Fees              WSF - Ongoing [Homestead]           WSF - Prepetition Arrears           Avery - APP [Invest. Prop.]


  2/22/2018         1         $           70.16     1 at   $           6,528.28    1 at   $          652.83           $    50.00                                                           $                     2,035.23          $                744.47         DOES NOT INTEND TO PAY
  3/22/2018         2         $           70.16            $           5,202.10           $          520.21           $    50.00                                                           $                     2,035.23          $                744.47         $                      -
  4/22/2018         3         $           70.16     2 at   $           5,202.10    2 at   $          520.21           $    50.00      3 at                                          3 at   $                     2,035.23   3 at   $                744.47         $                      -
  5/22/2018         4         $           70.16            $           5,387.21           $          538.72           $    50.00             $    50.00                                    $                     2,052.85          $                711.67         $                      -
  6/22/2018         5         $           70.16            $           5,387.21           $          538.72           $    50.00             $    50.00                                    $                     2,052.85          $                711.67         $                            -
  7/22/2018         6         $           70.16     3 at   $           5,387.21    3 at   $          538.72           $    50.00             $    50.00    6 at                            $                     2,052.85          $                711.67         $                            -
  8/22/2018         7         $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  9/22/2018       8           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
 10/22/2018       9           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
 11/22/2018      10           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
 12/22/2018      11           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  1/22/2019      12           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  2/22/2019      13           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  3/22/2019      14           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  4/22/2019      15           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  5/22/2019      16           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  6/22/2019      17           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  7/22/2019      18           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  8/22/2019      19           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
  9/22/2019      20           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
 10/22/2019      21           $           70.16            $           5,442.77           $          544.28           $    50.00             $    50.00            $     50.00             $                     2,052.85          $                711.67         $                            -
 11/22/2019      22           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
 12/22/2019      23           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  1/22/2020      24           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  2/22/2020      25           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  3/22/2020      26           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  4/22/2020      27           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  5/22/2020      28           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  6/22/2020      29           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  7/22/2020      30           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  8/22/2020      31           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  9/22/2020      32           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
 10/22/2020      33           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
 11/22/2020      34           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
 12/22/2020      35           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  1/22/2021      36           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  2/22/2021      37           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  3/22/2021      38           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  4/22/2021      39           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  5/22/2021      40           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  6/22/2021      41           $           70.16            $          5,442.77            $          544.28           $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  7/22/2021      42           $           70.16    36 at   $          5,442.77    36 at   $          544.28   42 at   $    50.00             $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  8/22/2021      43           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  9/22/2021      44           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
 10/22/2021      45           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
 11/22/2021      46           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
 12/22/2021      47           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  1/22/2022      48           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  2/22/2022      49           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  3/22/2022      50           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  4/22/2022      51           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  5/22/2022      52           $           70.16            $          5,387.21            $          538.72                                  $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  6/22/2022      53           $           70.16    11 at   $          5,387.21    11 at   $          538.72                          50 at   $    50.00            $    50.00              $                     2,052.85          $                711.67         $                            -
  7/22/2022      54           $           70.16            $          5,331.66            $          533.17                                                        $    50.00              $                     2,052.85          $                711.67         $                            -
  8/22/2022      55           $           70.16            $          5,331.66            $          533.17                                                        $    50.00              $                     2,052.85          $                711.67         $                            -
  9/22/2022      56           $           70.16            $          5,331.66            $          533.17                                                        $    50.00              $                     2,052.85          $                711.67         $                            -
 10/22/2022      57           $           70.16            $          5,331.66            $          533.17                                                        $    50.00              $                     2,052.85          $                711.67         $                            -
 11/22/2022      58           $           70.16            $          5,331.66            $          533.17                                                        $    50.00              $                     2,052.85          $                711.67         $                            -
 12/22/2022      59           $           70.16     6 at   $          5,331.66     6 at   $          533.17                                                        $    50.00              $                     2,052.85 56 at    $                711.67         $                            -
  1/22/2023      60 60 at     $           70.16     1 at   $          5,331.82     1 at   $          533.18                                               54 at    $    50.00 57 at        $                     2,052.85 1 at     $                711.75 60 at   $                            -    60 at
Total                         $        4,209.60            $        325,614.79            $       32,561.48           $ 2,100.00             $ 2,500.00            $ 2,700.00              $                   123,118.14          $             42,798.68         $                            -
                                                                                                                        #REF!
**Debtor seeking to change from Monthly Payment Date of 22nd to 27th or later
                                                                        Case 6:18-bk-00343-KSJ                                                 Doc 57               Filed 05/13/18                          Page 12 of 12




     Avery - Arrearage                   Rodriguez - [Invest. Prop.]      Rodriguez - Prepetition Arrears       Santander [Sprinter Van]                   Santander - Arrears               Lake County Auto Mall               IRS - 2016                        IRS - 2017


""                            1 at   $                    843.56              $                  -             $                     410.70            $                    116.23    1 at   $            350.00          $                 428.72           $             826.38
$                        -           DOES NOT INTEND TO PAY                   $                  -             $                     410.70            $                    116.23           DOES NOT INTEND TO PAY       $                 428.72           $             826.38
$                        -           $                       -                $                  -             $                     410.70            $                    116.23           $               -     3 at   $                 428.72    3 at   $             826.38
$                        -           $                       -                $                  -             $                     410.70            $                    116.23           $               -            $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                     410.70            $                    116.23           $                -           $                 473.73           $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70           $                    116.23           $                -           $               473.73             $             913.15
$                        -           $                            -           $                  -             $                      410.70   59 at   $                    116.23           $                -           $               473.73             $             913.15
$                        -   59 at   $                            -   60 at   $                  -     60 at   $                      410.70    1 at   $                    116.30   59 at   $                -   57 at   $               473.73     57 at   $             913.15
$                        -           $                         843.56         $                  -             $                   24,642.00           $                  6,973.87           $             350.00         $            28,288.77             $          54,528.69



                                                                                                               Paid back at 6.5%                                                                                          Paid back at 4%                    Paid back at 4%
